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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF VIRGINIA
                                 (Newport News Division)

 JAMES T. PARKER, II, et al.                   )
                                               )
        Plaintiffs,                            )
                                               )
 v.                                            )       Case No: 4:18-cv-00140-HCM-DEM
                                               )
 FREEDOM MORTGAGE                              )
 CORPORATION, et al.,                          )
                                               )
        Defendants.                            )
                                               )

      DEFENDANT FREEDOM MORTGAGE’S CONFIDENTIAL MEMORANDUM IN
                     SUPPORT OF ITS MOTION TO SEAL

        In support for its Motion to Seal, Defendant, Freedom Mortgage Corporation (“Freedom

 Mortgage”), states as follows:

        1.      Freedom Mortgage moves the Court for leave to file under seal portions of its

 Consolidated Reply in Support of its Motion to Seal Motion for Protective Order and the

 underlying Motion for Protective Order Regarding Confidentiality Designations (“Consolidated

 Reply”) with supporting documents being filed contemporaneously herewith and in accordance

 with the Protective Order entered by the Court on June 28, 2019. (Docket No. 20).

        2.      Freedom Mortgage files this Consolidated Reply in Support of its Motion to Seal

 The Motion for Protective Order and the underlying Motion for Protective Order Regarding

 Confidentiality Designations. In this regard, as the instant Reply supports the same Motion,

 Freedom Mortgage hereby incorporates by reference its arguments in the Confidential

 Memorandum in Support of its Motion to Seal the underlying Motion. See Docket No. 28.

        Having met the requirements under for sealing court documents, Freedom Mortgage

 respectfully requests that the Court grant its Motion to Seal.
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                                    Respectfully submitted,


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 Date: September 23, 2019




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                                CERTIFICATE OF SERVICE

           I hereby certify that on September 23, 2019, I caused the foregoing motion to be

 electronically filed with the Clerk of the Court, which caused it to be served on all counsel of

 record.



                                             /s/ Walter Buzzetta
                                             Walter J. Buzzetta




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